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IN THE UNITED STATES BANKRUP'I`CY COURT
F()R THE DISTRICT OF DELAWARE

 

ln re

WOODBRIDGE GROUP OF COMPANIES,

Chapter ll

Case No. 17~12560 (KJC)

1
LLC, er al-, (Joinily Administered)

Debt°rs' Rer.DocketNos. 85,150, 157,198, 240, 2511

 

 

0R1)ER, PURSUANT To sECTIONs 105(3) AND 1102 0F THE BANKRUPTCY COI)E
AND BANKRUPTCY RULE 9019,APPR0V1NG THE CoNsENsUAL REsoLUTION
011 (A) MoTioN 0111 THE AJ) Hoc CoMMITTEE 011 HOLDERS 0F PRoMIssoRY
NoTEs 011 wooDBRII)GE MORTGAGE INVESTMENT FUND ENTITIES AND
AFFILIATES PURSUANT T0 sECTION 1102(A)(2) 0F THE BANKRUPTCY CODE
DIRECTING THE APPOINTMENT 011 AN oFFICiAL CoMMITTEE 011
NoTEHoLDERs, (B) EMERGENCY MoTloN oF 0FF1C1AL CoMMITTEE 0F
UNSECUREI) CREDITORS FOR ENTRY 0F AN 0RDER DIRECTING THE
APPoiNTMENT 0F A CHAPTER 11 TRUSTEE PURSUANT To 11 U.s.C. § 1104, (C)
MoTIoN BY THE U.s. sECURITIES AND EXCHANGE CoMMISsIoN FoR 0R1)ER
DIRECTING THE APPOINTMENT oF A CHAPTER 11 TRUSTEE, (1)) JoINDER oF
ADI)ITIONAL NOTEHOLI)ERS To Mo'rIoN oF THE AD Hoc COMMITTEE 011
HOLI)ERS 0F PROMISSORY NOTES oF WooDBRli)GE MoRTGAGE
INVESTMENT FUND ENTITIES AND AFFILIATES PURSUANT 10 sEcTioN
1102(A)(2) oF THE BANKRUPTCY CoI)E DiRECTING THE APPOINTMENT or
AN 0FF1€1AL ooMMiTTEE 0F NOTEHOLDERS, AND (E) MoTIoN 011 THE AD
Hoc CoMMITTEE 0F UN1TH0L1)ERS 011 WooDBRIDGE MORTGAGE
INVESTMENT FUND ENTITIES PURSUANT To 11 _U.s.c. § 1102(A)(2)1)1RECTING
APPoIN'rMENT oF AN 0FFICIAL COMMITTEE or UNITHoLDERs

Upon the (a) Moz‘ion of the Ad Hoc Commz`ttee ofHolders omemissory Notes of
Woodbridge Mortgage Investment Fund Entz'ties and Ajjiliates Pursuant to Section 1102(0)(2) of
the Bankruptcy Code Directing the Appoinfment of an O]j{icial Committee ofNol'eholders [D.I.

85] (the “Notehoider Committee Motion”); (b) Emergency Motion of Ojicial Commitfee of

 

l The fast four digits of Woodbridge Group of Companies, LLC’s federal tax identification number are 3603.
The mailing address for Woodbridge Group of Companies, LLC is 14225 Ventura Boulevard #100, Sherman Oaks,
Caiifornia 91423. Due to the large number of debtors in these cases, which are being jointly administered for
procedurai purposes oniy, a complete list of the Debtors, the last four digits of their federal tax identification
numbers, and their addresses are not provided herein A complete list of such information may be obtained on the
website of the Debtors’ noticing and claims agent at www.gardencitvizrouo.coni/casestGC, or by contacting the

proposed undersigned counsel for the Debtors.

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Unsecured Crediforsfor Entry ofan Order Direcz‘ing the Appointment ofa Chapter ]] Trustee
Pursuant to 11 U.S.C. § 1104 [Docket No. 15()] (the “Cornrnittee’s Trustee Motion”); (c) Motl`on
by the U.S. Securities and Exchange Commissionfor Order Dz'reclz`ng the Appoinrmenf ofa
Chapter ll Trustee [D.I. 157] (the “SEC Motion”); (d) Joinder ofAdditz'onal Noteholders to
Motir)n ofthe Ad Hoc Committee ofHolders ofPromissory Notes cf Woodbridge Mortgage
investment Fund Entities and Aji!iates Pursuanr to Section 1102(a)(2) ofThe Bankruptcy Code
Directing the Appointment ofan ijz`cial Committee ofNoteholders [D.I. 198] (the “Noteholder
Connnittee Motion Joinder”); and (e) Morz'on ofrhe Ad Hoc Committee of Unifholders of
Woodbridge Mortgage Investment Fund Enlities Pursuanl to 1 ] U.S.C. § 1102(a)(2) Directing
Appointment of an ij?cial Committee of Unitholders [D.I. 250] (the “Unithoider Committee
Mgti_dn” and together With the Notehoider Comrnittee Motion, Committee’s Trustee Motion, the
SEC Motion, and the Noteholder Committee Motion Joinder, the “M”); and upon review
of the Debtors’ Objecfion to Motions of (19 Ojj'icial Committee of Unsecured Creditors and (II)
the U.S. Securities and Exchange Commissionfor Enlry of an Order Directing the Appointment
cfa Chapter l l Trustee [D.i. 240] (the “Debtors’ Response”) as We]l as all other statements filed
With respect to the Motions; and upon further consideration of the term sheet attached hereto as
Exhibit l for approval (the “Term Sheet”).2

lt is hereby ORDERED, ADJUDGED, AND DECREED THAT:

i. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ l334(b) and
157, and the Amended Standfng Order ofReferer/ice from the United States District Court for the

District of Deiaware dated as of February 29, 2012.

 

2
Sheet.

Capitalized terms used herein, but not otherwise defined, have the meanings given to them in the ri`errn

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2. Venue of these cases and the Motions in this district is proper pursuant to 28

U.S.C. §§ 1408 and 1409, and this matter is a core proceeding pursuant to 28 U.S.C. § 157(b).

3. This Court may enter a final order consistent with Article ill of the United States
Constitution.
4. Notice of the Motions has been given as set forth in the Motions and such notice

is adequate and no other or further notice need be given

5 . The Terrn Sheet is approved pursuant to sections l()§(a) and 1102 of the
Bankruptcy Code and Banl<ruptcy Rule 90l 9.

6. Upon entry of this order (the “Or_der”), the Motions shall be deemed to be
consensually resolved in accordance with the terms of the Term Sheet, except that resolution of
the SEC Motion is subject to approval by the SEC Commission. For avoidance of doubt, entry
of this Order shall not constitute this Conrt’s decision on the merits for any of the Motions.

7. Effective upon entry of this Order, David J. (Jan) Baker, Robert E. Gerber and
James M. Peck shall be exculpated and released for any and all actions taken or omitted to be
taken in connection With and in contemplation of these cases and their service as members oft_he
Debtors’ board of managers

8. Compensation in the amount of $25,000 each for David J. (}an) Baker, Robert E.
Gerber and J ames M. Peck is hereby approved for their service as board members

9. The following provisions shall be applicable with respect to the New Board (as
such term is defined in the Term Sheet):

a. Unless and until otherwise ordered by the United States Banl<ruptcy Court
for the District of Delaware (the “Qo_nr_t”), WGC lndependent Manager
LLC (“WGCIM”), under the direction of the New Board, shall have the

authority to manage the affairs of the Debtors in their respective chapter
ll cases.

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b. The Debtors are authorized to fund the compensation of the members of
the New Board and their reasonable expenses, specifically including,
Without limitation, travel expenses and the fees and expenses of their
counsel incurred in connection with (i) the New Board’s appointment and
(ii) legal advice and services in matters within the New Board’s
responsibility as to which the Debtors’ counsel cannot appropriately act.

c. The members of the New Board shall receive the benefit of Section 17
(Exculpation and lndemnification) of WGCll\/l’s amended and restated
operating agreement dated lanuary 16, 2018 (the “Operating Agreement”).
ln addition to and not in limitation of any rights of indemnification under
the Operating Agreement, the Debtors will, to the maximum extent
permitted by applicable law, indemnify and hold harmless the members of
the New Board from any and all loss, claim, damage or cause of action,
including reasonable attorneys’ fees related thereto (“Clairns”) incurred by
the New Board members in the performance of their duties and obligations
as such; provided that a New Board member shall not be so indemnified
for Claims if they arise from such New Board member’s bad faith, gross
negligence, or willful misconduct The benefits of this provision shall
survive the termination of each NeW Board member’s service as such.

d. Unless otherwise ordered by the Court, Robert Shapiro shall not have any
removal rights with respect to New Board members

10. The resolution set forth in the Term Sheet is in the best interests of the Debtors,
their estates, their creditors, the Committee, and all other parties in interest; the legal and factual
bases of the Term Sheet establish just cause for the relief granted herein; and the terms set forth

in the Fl`erm Sheet constitute a fair resolution of the issues raised in the Motions. Notwithstanding

 

any provision in the Banl<ruptcy Rules to the contrary, the Debtors, the Cornrnittee, and all other
parties in interest are authorized to take any and all actions necessary and appropriate to
consummate the terms of the Tenn Sheet, including, without limitation, executing and delivering
any documents, agreements or instruments and remitting payments, as may be necessary or

appropriate to implement the Tenn Sheet.

l 1. Neither the terms of the Term Sheet nor entry of this Order shall constitute an
admission by any party with respect to any allegations contained in the Motion or any responses

or statements filed with respect thereto.

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12. This Order and the Term Sheet shall be binding on all the parties in these cases,
except that the SEC’s obligations under the Term Sheet are subject to approval by the SEC
Commission.

13. This Court shall retain jurisdiction With respect to any matters, claims, rights or

disputes arising from or related to the Motions, the Term Sheet, or the implementation of this

 

Order.
Dated.- §44¢'1»_'3¢ ,2018 // d
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UNITEDSTAT SBANKR TC JUDGE

 

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